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                    UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF IDAHO


 GARY L. MERCHANT,
                                            Case No. 1:17-cv-00524-BLW
                     Plaintiff,
                                           JUDGMENT
         v.

 CORIZON, L.L.C., JOHN
 MIGLIORI, M.D., DAVID AGLER,
 M.D., IDAHO DEPARTMENT OF
 CORRECTIONS, WARDEN KEITH
 YORDY, and JOHN/JANE DOES I-
 X, whose true identities are presently
 unknown,

                     Defendant.


      In accordance with the ruling announced by the Court during the hearing

held on November 22, 2019 and the Minutes filed therein,




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      NOW THEREFORE IT IS HEREBY ORDERED, ADJUDGED AND

DECREED, that Judgment be entered in favor Defendants and that this case be

DISMISSED IN ITS ENTIRETY.

      It is FURTHER ORDERED that the Clerk of the Court shall close this case.



                                          DATED: November 22, 2019


                                          _________________________
                                          B. Lynn Winmill
                                          U.S. District Court Judge




JUDGMENT - 2
